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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

LIQUIDIA TECHNOLOGIES, INC.,

                    Plaintiff and Intervenor-
                    Cross-Defendant,

      v.

FOOD AND DRUG ADMIN., et al.,
                                                       Case No. 1:24-cv-02428-TJK
                    Defendants and Cross-
                    Defendants,

      and

UNITED THERAPEUTICS
CORPORATION,

                    Intervenor-Defendant
                    and Cross-Claimant.

     Federal Defendants’ Motion to Dismiss and for Relief from Local Rule 7(n)

    Federal Defendants hereby move this Court under Federal Rule of Civil Procedure

12(b)(1) and 12(b)(6) to dismiss United Therapeutics Corporation’s crossclaims for lack of

subject-matter jurisdiction and failure to state a claim upon which relief can be granted.

The grounds for this motion are fully set forth in an accompanying memorandum.

    In addition, pursuant to Local Rule 7(n) for the reasons set forth in the accompanying

memorandum, Federal Defendants respectfully move that this Court waive Federal

Defendants’ obligation to produce the administrative record. Counsel for United

Therapeutics Corporation and Liquidia Technologies, Inc., have informed undersigned

counsel that they oppose the request for relief under Local Rule 7(n).
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November 15, 2024                     Respectfully submitted,

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